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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

                                  EUGENE DIVISION


Elizabeth HUNTER; et al.,
                                                                  Case No. 6:21-cv-00474-AA
                                Plaintiffs,
                                                                  REPLY IN SUPPORT OF
                                      v.                          MOTION FOR LEAVE TO
                                                                  AMEND

DEPARTMENT OF EDUCATION; and Catherine
LHAMON, in her official capacity as Assistant Secretary for
the Office of Civil Rights, U.S. Department of Education,
                                Defendants,


 COUNCIL FOR CHRISTIAN COLLEGES &
 UNIVERSITIES, WESTERN BAPTIST COLLEGE
 d/b/a CORBAN UNIVERSITY, WILLIAM JESSUP
 UNIVERSITY AND PHOENIX SEMINARY,
                                Intervenor-Defendants.



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           I.     ARGUMENT

         The allegations in Plaintiffs’ First Amended Complaint (“FAC”) are already sufficient to

withstand the motions to dismiss filed by Government Defendants and Intervenor-Defendants. In

seeking leave to amend to file Plaintiffs’ proposed Second Amended Complaint (“SAC”), a

primary purpose is to present a complaint to the Court that more completely contains factual

allegations and requests for relief consistent with Plaintiffs’ Motion for Preliminary Injunction

(e.g. allegations regarding Title IX administrative complaint filings; requests for declaratory and

injunctive relief regarding the 2020 Final Rules).1

         An additional purpose of the SAC is to include new plaintiffs who demonstrate the

widespread, ongoing nature and imminency of the harms stemming from the Title IX religious

exemption, related administrative regulations, Government Defendants’ administration of Title IX

complaints, and Government Defendants’ funding of avowedly discriminatory institutions.

         Government Defendants argue, however, that "adding more Plaintiffs would not materially

change the legal and factual landscape currently being considered by the Court as it deliberates the

pending motions to dismiss and the motion for preliminary injunction." Dkt. 158, pp. 4-5; see also

Dkt. 157, p. 10 (similar argument from Intervenor-Defendants). Not so. At least one of the new

proposed plaintiffs, Kalie Hargrove, filed a Title IX administrative complaint that has now

survived the timeliness and other jurisdictional hurdles of OCR’s evaluation stage. Dkt. 160, pp.

10-11; Dkt. 162-1 (Southwick Declaration, Ex. A (OCR Investigation Letter)). OCR recently




    1
      To the extent that Rule 15(d), which governs supplemental pleadings, would permit inclusion of any of the new
allegations in the SAC, Plaintiffs request that the Court consider Plaintiffs’ Motion to Amend to include an alternative
Motion for Supplemental Pleading under Rule 15(d). See FRCP 15(d) (“On motion and reasonable notice, the court
may, on just terms, permit a party to serve a supplemental pleading setting out any transaction, occurrence, or event
that happened after the date of the pleading to be supplemented.”).
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opened Kalie’s complaint for investigation. Id. However, OCR’s letter states that “The University

may claim an exemption from application of Title IX and its implementing regulation to this

complaint by contacting OCR.” Dkt. 162-1, p. 1. Consequently, Kalie’s Title IX complaint is very

likely to soon be dismissed based on Title IX’s religious exemption after her institution asserts a

religious exemption in response to the investigation. See Dkt. 162-2 (giving Kalie’s university 20

days to respond to OCR investigation letter). The addition of Kalie as a plaintiff adds important,

unique support for the immediate need for the Court’s intervention through the relief requested in

Plaintiffs’ motion for preliminary injunction. The addition of the other plaintiffs further

demonstrates the widespread, ongoing nature and imminency of the harms at issue.

       Government Defendants also argue that they would be unduly prejudiced if the Court

grants Plaintiffs’ Motion to Amend. They argue that it will delay consideration of their Motion to

Dismiss. However, Defendants will not be unduly prejudiced as a hearing on the motions to

dismiss has not been set, nor has the Court indicated a timeframe in which it will decide the

motions to dismiss. Consequently, any delay is purely hypothetical, much less prejudicial.

       Government Defendants also argue that they will be prejudiced by being required to submit

additional briefing for a new round of motions to dismiss. Dkt. 158, pp. 6-7. However, if the Court

denies defendants' motions to dismiss, new motion to dismiss briefing may be unnecessary. As the

Government-Defendants have acknowledged, Plaintiffs’ “proposed additions to the prayer for

relief—asking for a declaration that the November and August 2020 rules violate the APA and an

injunction to prevent Defendants from ‘using’ those rules—and to the factual allegations—

describing the filing of Plaintiffs’ administrative claims with the Office for Civil Rights—are

matters already considered and addressed by the parties in the existing motions to dismiss and the

preliminary injunction briefing." Dkt. 158, p. 4. Consequently, new briefing would likely be

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unnecessary in light of the briefing already before the Court in the motions to dismiss and motion

for preliminary injunction. To the extent new briefing might be necessary, briefing could be limited

to the new allegations in the SAC that have not already been fully briefed, if any.

       Intervenor-Defendants argue that allowing the additional plaintiffs included in the SAC

would impose an unduly prejudicial discovery burden. Dkt. 157, pp. 9-10. To the contrary, this

case already involves 40 plaintiffs and is a proposed class action. The addition of 8 new plaintiffs

in this context would not create an unduly prejudicial discovery burden. Moreover, the Title IX

complaints filed by the proposed plaintiffs are proceeding through the same OCR administrative

process, and at the same time, as those filed by the current plaintiffs. It would be more efficient

for these new plaintiffs to have their claims tried before the same tribunal as the current plaintiffs.

       Defendants also raise futility of amendment in their oppositions to Plaintiffs’ motion to

amend. However, Plaintiffs’ claims are not futile for all the reasons extensively briefed in the

motion for preliminary injunction, motions to dismiss and other briefing submitted to this Court.

Intervenor-Defendants also argue that “the Ninth Circuit provided even further reason to dismiss

Plaintiffs’ APA claims when it determined that the substance of both the August and November

Rules are consistent with the plain meaning of Title IX and with the Department’s longstanding

internal practices.” Dkt. 157, p. 7 (citing Maxon v. Fuller Theological Seminary, No. 20-56156,

2021 WL 5882035 (9th Cir. 2021) (unpublished)). To begin, the Maxon opinion is unpublished

and is not precedent. Moreover, the plaintiffs’ complaint in Maxon did not advance the

constitutional claims nor the Administrative Procedure Act claims at issue in this case. Likewise,

the Ninth Circuit’s unpublished opinion did not address constitutional or Administrative Procedure

Act claims. For example, the unpublished opinion did not analyze whether the Department, in

enacting the August and November 2020 Final Rules, adequately considered the impact of such

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rules on the growing number of LGBTQ+ students at taxpayer-funded educational institutions or

the significance of the severe and widespread harms resulting from the Department’s internal

practices regarding the religious exemption to Title IX. Additionally, the Maxon case involved

claims against an educational institution, not claims against the government.

        II.    CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court grant Plaintiffs’

Motion for Leave to File Second Amended Complaint.




   Dated: January 21, 2022

                                                            s/ Paul Carlos Southwick

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